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8                         UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,
                                            CASE NO. CR. 96-350 WBS
13             Plaintiff,
14        v.                                ORDER RE: MADY CHAN’S MOTION
                                            TO SUPPRESS
15
16   MADY CHAN, et al.,
17             Defendants.
18                               ----oo0oo----
19             Pursuant to this court’s Order of February 2, 2006,
20   this matter came on for hearing on March 17, 2006 on defendant
21   Mady Chan’s motion to suppress all evidence obtained from the
22   search of his residence.    After hearing counsel, the court
23   remains uncertain as to which, if any, of the items seized from
24   Chan’s residence pursuant to the search warrant the government
25   intends to offer at trial.    The court also fails to understand
26   defendant’s arguments (relating to the distinctions between civil
27   and criminal forfeiture) as to why Judge Patel’s ruling on the
28   same motion in the Northern District case is not res judicata, or

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1    alternatively at least, persuasively applicable to this motion.
2               Therefore, for the reasons stated by Judge Patel in her
3    order in the Northern District case, defendant’s motion is DENIED
4    without prejudice.   If during trial the government seeks to
5    introduce any of the items seized during the search of Mady
6    Chan’s residence, defendant may renew his motion to suppress at
7    that time.
8               IT IS SO ORDERED.
9    DATED:   March 18, 2006
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